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                                   UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF CALIFORNIA                              FILED
                                                                                      September 15, 2016
                                                                                       CLERK, US DSITRICT COURT
                                                                                         EASTERN DISTRICT OF
                                                                                              CALIFORNIA



UNITED STATES OF AMERICA,                                     No. 2:13-CR-00354-02-MCE

                   Plaintiff,

       v.                                                                 DETENTION ORDER
                                                                      (Violation of Pretrial Release,
HUSSAIN SHAHZAD,                                                    Probation or Supervised Release)

                   Defendant.


X   After a hearing pursuant to 18 U.S.C. § 3148 (violation of pretrial release order), the court finds :
            there is probable cause to believe the person has committed a federal, state or local crime while on
            release and defendant has not rebutted the presumption that his/her release will endanger another
            or
            the community or
            there is clear and convincing evidence that the defendant has violated another condition of release
            and
            based on the factors set forth in 18 U.S.C. § 3142(g) there is no condition or combination of
            conditions of release that will assure that the defendant will not flee or pose a danger to the safety
            of another person or the community or
        X the person is unlikely to abide by any condition or combination of conditions of release. F.R.Cr.P.
            32.1(a)(D), 46(c), 18 U.S.C. § 3148.

X   After a hearing pursuant to F.R.Cr.P. 32.1(a)(6) and 46(c) and 18 U.S.C. § 3143 (violation of probation or
    supervised release) the court finds there is probable cause to believe defendant has violated a condition of
    probation or supervised release and the defendant has not met his/her burden of establishing by clear and
    convincing evidence that he/she will not flee or pose a danger to another person or to the community.
    18 U.S.C. § 3143.

   IT IS ORDERED that pursuant to 18 U.S.C. § 3142(i)(2)-(4) defendant is committed to the custody of the
Attorney General for confinement in a corrections facility separate, to the extent practicable, from persons
awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded
reasonable opportunity for private consultation with his/her counsel. Upon further order of a court of the United
States or request of an attorney for the United States the person in charge of the corrections facility in which
the defendant is confined shall deliver the defendant to a United States Marshal for purpose of an appearance
in connection with a court proceeding.


    DATED: September 15, 2016                                _______________________________________
                                                             MORRISON C. ENGLAND, JR.
                                                             UNITED STATES DISTRICT JUDGE
